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Case 1:18-cv-00540-LMB-IDD Document 118 Filed 03/19/19 Page 1 of 1 PageID# 2061



                     IN THE UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division


   MARCIED. VADNAIS,

                  Plaintiff,

           V.                                                   l:18-cv-540(LMB/IDD)

   SIG SAUER,INC.,

                  Defendant.

                                               ORDER


         Due to a scheduling conflict, it is hereby

         ORDERED that the jury trial currently scheduled for April 2, 2019 be and is

 RESCHEDULED to Tuesday, May 28,2019 at 10:00ani, and it is further

         ORDERED that the parties be and are permitted to conduct any preservation video

  depositions necessary for trial.

         The Clerk is directed to forward copies ofthis Order to counsel of record.

         Entered this H day of March,2019.

  Alexandria, Virginia



                                                                          fsf
                                                          Leonie M,Brinkema
                                                          United States District Judge
